                    Case 18-40075               Doc 1        Filed 01/18/18 Entered 01/18/18 15:48:27                               Desc Main
                                                               Document     Page 1 of 11
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Susan
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        A.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Yerdon
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3677
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   Susan A. Yerdon                                                                            Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1 Riverview Blvd, #4-203
                                 Methuen, MA 01844
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Essex
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 Susan A, Yerdon, F81462
                                 South Middlesex Correctional Facfility
                                 PO Box 850
                                 Framingham, MA 01701
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Susan A. Yerdon                                                                               Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Susan A. Yerdon                                                                                Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Susan A. Yerdon                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Susan A. Yerdon                                                                               Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities                                                        $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Susan A. Yerdon
                                 Susan A. Yerdon                                                   Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 18, 2018                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Susan A. Yerdon                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ AnDre' D. Summers                                              Date         January 18, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                AnDre' D. Summers 551618
                                Printed name

                                Summers Law Office
                                Firm name

                                PO Box 306
                                Franklin
                                Franklin, MA 02038
                                Number, Street, City, State & ZIP Code

                                Contact phone     508-528-8444                               Email address         Summerslaw@hotmail.com
                                551618 MA
                                Bar number & State




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OLF 8 (Official Local Form 8)


                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Susan A. Yerdon                                                                      Case No.
                                                                                Debtor(s)        Chapter    13



                         CHAPTER 13 AGREEMENT BETWEEN DEBTOR AND COUNSEL
                     RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR
                                             ATTORNEYS

         It is important for debtors who file bankruptcy cases under chapter 13 to understand their rights and
responsibilities. It is also useful for debtors to know what their attorney's responsibilities are, and understand the
importance of communicating with their attorney to make the case successful. Debtors should also know that they may
expect certain services to be performed by their attorney. To encourage that debtors and their attorneys understand their
rights and responsibilities in the bankruptcy process, the following terms are agreed to by the debtors and their attorneys.



BEFORE THE CASE IS FILED:

The DEBTOR agrees to:
1.          Provide the attorney with accurate financial information; and
2.          Discuss with the attorney the debtor's objectives in filing the case.

The ATTORNEY agrees to:
1.          Meet with the debtor to review the debtor's debts, assets, income and expenses;
2.          Counsel the debtor regarding the advisability of filing either a chapter 7 or chapter 13 case, discuss both
            procedures with the debtor, and answer the debtor's questions;
3.          Explain what payments will be made through the plan, and what payments will be made directly by the debtor for
            mortgage and vehicle loan payments, as well as which claims accrue interest;
4.          Explain to the debtor how, when, and where to make the chapter 13 plan payments, as well as the debtor's
            obligation to continue making mortgage payments, without interruption, and the likely consequences for failure to
            do so;
5.          Explain to the debtor how the attorney's fees and trustee's fees are paid, and provide an executed copy of this
            document to the debtor;
6.          Explain to the debtor that the first plan payment must be made to the trustee within 30 days of the date the plan is
            filed;
7.          Advise the debtor of the requirement to attend the 11 U.S.C. § 341 meeting of creditors, and instruct debtor as to
            the date, time and place of the meeting;
8.          Advise the debtor of the necessity of maintaining appropriate insurance on all real estate, motor vehicles and
            business assets; and
9.          Timely prepare and file the debtor's petition, plan and schedules.
AFTER THE CASE IS FILED:

The DEBTOR agrees to:

1.          Keep the trustee and attorney informed of the debtor's address and telephone number;
2.          Inform the attorney of any wage garnishments or attachments of assets which occur or continue after the filing of
            the case;


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3.          Contact the attorney if the debtor loses his/her job or has other financial problems (the attorney may be able to
            have the chapter 13 plan payments reduced or suspended in those circumstances), or alternatively obtains a
            material increase in income or assets;
4.          Advise counsel if the debtor is sued during the case;
5.          Inform the attorney if tax refunds to which the debtor is entitled are seized or not received;
6.          Advise counsel and the trustee before buying or selling property or before entering into any long-term loan
            agreements, to determine what approvals are required; and provide the trustee and the attorney, prior to the § 341
            meeting of creditors, with documentary evidence as to debtor's income from all sources and the value of any asset
            in which the debtor has an interest, together with a copy of any declaration of homestead covering the debtor's
            real estate, proof of insurance on any real property or automobiles in which the debtor has an interest, and any
            other documents which the trustee might reasonably request in order to assess whether the debtor's proposed plan
            should be confirmed.

The ATTORNEY agrees to provide the following legal services in consideration of the compensation further
described below:

1.          Appear at the 11 U.S.C. § 341 meeting of creditors with the debtor;
2.          Respond to objections to plan confirmation, and where necessary, prepare an amended plan;
3.          Prepare, file and serve one necessary modification to the plan which may include suspending, lowering, or
            increasing plan payments;
4.          Prepare, file and serve necessary amended schedules in accordance with information provided by the debtor;
5.          Prepare, file and serve necessary motions to buy, sell or refinance real property;
6.          Object to improper or invalid claims, if necessary, based upon documentation provided by the debtor;
7.          Represent the debtor in motions for relief from stay;
8.          Where appropriate, prepare, file and serve necessary motions to avoid liens on real or personal property; and
9.          Provide such other legal services as necessary for the administration of the case.

            The initial fees charged in this case are $ 2,200.00 . Any and all additional terms of compensation and
            additional services agreed to be rendered, if any, are set forth in writing and annexed hereto. If the initial fees are
            not sufficient to compensate the attorney for the legal services rendered in this case, the attorney further agrees to
            apply to the Court for additional fees. If the debtor disputes the legal services provided or the fees charged by the
            attorney, an objection may be filed with the Court and the matter set for hearing.

                    Debtor’s Signature:                                 /s/ Susan A. Yerdon     Dated:   January 18, 2018

                                                                         Susan A. Yerdon

                Joint Debtor’s Signature:                                                       Dated:   January 18, 2018




       Attorney for the Debtor(s) Signature:                           /s/ AnDre' D. Summers    Dated:   January 18, 2018

                                                                     AnDre' D. Summers 551618




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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Susan A. Yerdon                                                                      Case No.
                                                                                 Debtor(s)       Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 18, 2018                                               /s/ Susan A. Yerdon
                                                                      Susan A. Yerdon
                                                                      Signature of Debtor




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AnDre' Summers                  Doc 1   Filed
                                        Ocwen01/18/18       Entered 01/18/18 15:48:27
                                               Loan Servicing                           Desc Main
Summers Law Office                       Document
                                        12650            Page 11 of 11
                                              Ingenuity Dr.
PO Box 306                              Orlando, FL 32826
Franklin, MA 02038
      }
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      o
      A
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      M
      a
      x




Commonwealth of Massachusetts           Salute/atlanticus
Department of Revenue                   Pob 105555
Bankruptcy Unit                         Atlanta, GA 30348
PO Box 9564
Boston, MA 02114

Commonwealth of Massachusetts           Susan A. Yerdon
Department of Revenue                   1 Riverview Blvd. #4-203
Bankruptcy Unit                         Methuen, MA 01844
PO Box 9564
Boston, MA 02114

Commonwealth of Massachusetts           Synchrony Bank/ JC Penneys
Division of Employment                  Attn: Bankruptcy
Attn: Chief Counsel                     Po Box 965060
Hurly Building                          Orlando, FL 32896
Boston, MA 02114

Exeter Finance Corp                     The Credit Bureau Inc
Po Box 166008                           Eos Cca
Irving, TX 75016                        700 Longwater Dr
                                        Norwell, MA 02061


Internal Revenue Service
Special Procedures
PO Box 9112
JFK Building
Boston, MA 02203

Internal Revenue Service
Special Procedures
PO Box 9112
JFK Building
Boston, MA 02203

Internal Revenue Service
Special Procedures
PO Box 9112
JFK Building
Boston, MA 02203

Metro Credit Un
200 Revere Beach Blvd
Chelsea, MA 02150




Ocwen Loan Servicing
Bank of New York Mellon, Mortgagee
c/o Korde & Associates, PC
900 Cheldmsford Street, Suite 3102
MA 01855
